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 1                IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
 2                          MCALLEN DIVISION
 3       JUANA CRUZ, OFELIA           )
         BENAVIDES, JOSE ELIAS N.G, )
 4       GABRIELA VELAZQUEZ,          )
         RICARDO GONZALEZ, HELESIO    )
 5       CRUZ, ANGELICA CHAVEZ,       )
         CONCEPCION PEREZ, OLGA       )
 6       PEREZ, MAVRIGO SAENZ,        )
         JORGE MAOLEON, HECTOR        )
 7       SANCHEZ, HECTOR GONZALEZ,    )
         YESSY PEREZ-MARTINEZ,        )
 8       MARIA DE LOURDES CRUZ,       )
         RESENDO LIEVANOS,            )
 9       ELIZABETH LARA, LUIS         )       CIVIL ACTION
         ALBERTO ZUNIGIA-CASTILLO,    )    NO. 7:23-CV-00343
10       MIGUEL CABALLERO SANCHEZ,    )
         GUILLERMO DE LA              )
11       CRUZ-MENDOZA, CARLOS         )      JURY DEMANDED
         DANIEL LOPEZ, GILDA RIVAS, )
12       ARMANDO MORALES DE LLANO,    )
         LAZARO GARCIA, MARIA DE      )
13       JESUS MEDINA, RICARDO        )
         ESQUIVEL, RAFAEL SANCHEZ,    )
14       GUILLERMO RUIZ, ROSA         )
         QUINTANILLA,                 )
15                                    )
                      PLAINTIFFS,     )
16                                    )
         VS.                          )
17                                    )
         DELGAR FOODS LLC A/K/A       )
18       DELIA'S TAMALES,             )
                                      )
19                    DEFENDANT.      )
20
        *******************************************************
21                        ORAL DEPOSITION OF
22                          ELIAS GUTIERREZ
23                           June 28, 2024
24     ********************************************************
25

                                                                    Page 1

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                                                                   EXHIBIT
                                      346-293-7000
                                                                      A-3
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 1       ORAL DEPOSITION of ELIAS GUTIERREZ, produced                  1                    INDEX
 2 as a witness at the instance of the Defendant, and duly
                                                                       2                                                PAGE
                                                                       3 Appearances..................................... 03
 3 sworn, was taken in the above-styled and numbered cause
                                                                       4 Exhibits........................................ 04
 4 on the 28th day of June, 2024, from 9:01 a.m. to                    5
 5 10:19 a.m. before Anica Diaz, CSR, RPR, CRR, in and for               ELIAS GUTIERREZ
 6 the State of Texas, reported by machine shorthand, at               6
 7 the Law Offices of Ricardo Gonzalez, 124 South 12th
                                                                           Examination by Mr. Quezada................. 05
                                                                       7
 8 Avenue, Edinburg, Texas, pursuant to the Federal Rules
                                                                       8 Changes and Signature........................... 41
 9 of Civil Procedure and the provisions stated on the                 9 Reporter's Certificate.......................... 43
10 record or attached.                                                10
11                                                                    11
12
                                                                      12
                                                                      13                 EXHIBITS
13
                                                                                                                        PAGE
14                                                                    14
15                                                                       Defendant's Exhibit No. 1
16                                                                    15      Questionnaire Filled out by
17
                                                                              Elias Gutierrez....................... 30
                                                                      16
18
                                                                      17
19                                                                    18
20                                                                    19
21                                                                    20
22
                                                                      21
                                                                      22
23
                                                                      23
24                                                                    24
25                                                                    25
                                                             Page 2                                                            Page 4
 1           APPEARANCES
 2 COUNSEL FOR THE PLAINTIFFS:
                                                                       1              PROCEEDINGS
 3     MR. RICARDO GONZALEZ                                            2           (Proceedings began at 9:01 a.m.)
       OXFORD & GONZALEZ
 4     124 South 12th Avenue                                           3           THE REPORTER: On the record at 9:01 a.m.
       Edinburg, Texas 78539                                           4           Counsel, would you prefer to have me read
 5     Tel: (956) 383-5654
       ric@oxfordandgonzalez.com                                       5 the script for a Federal Deposition and then introduce
 6                                                                     6 yourselves, or would you prefer to waive this?
 7 COUNSEL FOR DEFENDANT:
 8     MR. STEPHEN J. QUEZADA                                          7           MR. QUEZADA: We can waive.
       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.                  8           MR. GONZALEZ: We can waive it.
 9     500 Dallas Street, Suite 3000
       Houston, Texas 77002                                            9               ELIAS GUTIERREZ,
10     Tel: (713) 655-5757
       stephen.quezada@ogletree.com
                                                                      10 having been duly sworn, was called as a witness and
11                                                                    11 testified through an Interpreter as follows:
       MS. LORENA D. VALLE
12     PORTER HEDGES, LLP                                             12                 EXAMINATION
       1000 Main Street, 36th Floor                                   13 BY MR. QUEZADA:
13     Houston, Texas 77002-6341
       Tel: (713) 226-6000                                            14     Q. Good morning, Mr. Gutierrez.
14     lvalle@porterhedges.com                                        15     A. Good morning.
15     MS. ELIZABETH SANDOVAL CANTU
       RAMON WORTHINGTON NICOLAS & CANTU, PLLC                        16     Q. My name is Stephen Quezada, and I represent
16     1506 South Lone Star Way, Suite 5
                                                                      17 Delgar Foods, LLC, which does business as Delia's
       Edinburg, Texas 78539
17     Tel: (945) 294-4800                                            18 Tamales. Do you understand that?
       ecantu@ramonworthington.com
18
                                                                      19     A. Yes.
19 ALSO PRESENT:                                                      20     Q. And today we're here to take your deposition in
20     Mr. Luis Gonzalez, Interpreter
       Mr. Rosendo Lievanos, Plaintiff                                21 the case that you've brought against Delia's.
21     Mr. Luis Zuniga, Plaintiff                                     22     A. Okay.
       Ms. Olga Perez, Plaintiff
22                                                                    23     Q. And you understand that when I say "Delia's"
23                                                                    24 I'm referring to the Defendant in the case, the entity
24
25                                                                    25 that you're suing?
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 1    A. Okay.                                                   1     Q. (By Mr. Quezada) And you understand that
 2    Q. Can you please state your name for the record.          2 although we are in a conference room --
 3    A. Jose Elias Navarro Gutierrez.                           3           MR. QUEZADA: Just for the record, Ms. Olga
 4    Q. Can you tell us any other names you've gone by          4 Perez just arrived.
 5 please.                                                       5     Q. (By Mr. Quezada) And you understand that
 6    A. Elias Gutierrez.                                        6 although we're in your attorney's conference room today,
 7    Q. Mr. Gutierrez, have you ever given a deposition         7 the testimony you're giving is just as if we were in
 8 before?                                                       8 court. Okay?
 9    A. Not in the United States.                               9     A. Okay.
10    Q. In any other country?                                  10     Q. And you understand that the testimony you're
11    A. In Mexico.                                             11 giving today is going to be relied upon by the judge and
12    Q. And when did you give a deposition in Mexico?          12 the jury to make decisions in this case?
13    A. Like 23 years ago.                                     13     A. Okay.
14    Q. And what was that for?                                 14     Q. And you understand that you're under oath and
15    A. It was daily.                                          15 what that means, correct?
16    Q. What was it for?                                       16     A. Of course.
17    A. Investigation depositions.                             17     Q. Mr. Gutierrez, what did you do to prepare for
18    Q. Okay. Mr. Gutierrez, well, today, we are using         18 today's deposition?
19 an interpreter to interpret my questions and your            19     A. Nothing.
20 answers from English to Spanish and Spanish to English,      20     Q. You haven't spoken to anyone about your
21 correct?                                                     21 deposition?
22    A. Okay.                                                  22     A. No.
23    Q. And we're using the interpreter so that you can        23     Q. You didn't call or text message anyone about
24 better understand the questions and in your language,        24 your deposition?
25 correct?                                                     25     A. No.
                                                       Page 6                                                          Page 8

 1      A. Okay.                                                 1     Q. Okay. And the other thing I forgot to mention
 2      Q. And we also have a court reporter here today.         2 is because we have a court reporter here today, she can
 3      A. Okay.                                                 3 only record verbal responses. Okay?
 4      Q. And the interpreter is interpreting everything        4     A. Okay.
 5 we say, and the court reporter is taking down everything      5     Q. So the normal uh-huh, nuh-uh, we -- they just
 6 we say. And so in order to get the best record today,         6 don't work today. Okay?
 7 it's very important for us to wait for the other one to       7     A. Agreement.
 8 finish speaking, meaning, let me ask the question, and        8     Q. Did you review any documents in preparation for
 9 then I'll let you give the answer before the other one        9 today?
10 starts talking.                                              10     A. No.
11      A. Okay.                                                11     Q. What is your address?
12      Q. If there's any question that I ask you today         12     A. Right here.
13 that you don't understand or you want me to clarify,         13          MR. QUEZADA: Okay. Mr. Gutierrez handed
14 just let me know. Okay?                                      14 me a business card that says Circle T Family Community,
15      A. Okay.                                                15 and the address is 1820 Clay Tolle, T-O-L-L-E, Street,
16      Q. And, similarly, if there is a translation that       16 Mission, Texas 78572.
17 you don't understand or wish to have clarified, let the      17     A. (In English) Number 166.
18 interpreter know so that way he can clarify that for you     18     Q. Number 166.
19 as well. Okay?                                               19          And for how long have you lived at
20      A. Okay.                                                20 1820 Clay Tolle?
21      Q. If you answer a question today, we'll assume         21     A. That question, can you repeat it?
22 that you understood the question and the interpretation;     22     Q. Yes, sir. For about how long have you lived at
23 is that fair?                                                23 1820 Clay Tolle?
24      A. Okay.                                                24     A. Okay. About a year.
25            (Ms. Olga Perez enters conference room.)          25     Q. And before that, where did you live?
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 1    A. In McAllen. The address is Idela 2024.            1     Q. Sir, do you understand that the reason for your
 2    Q. And was that a house or an apartment?             2 separation was because the Government notified Delia's
 3    A. House.                                            3 that it could no longer continue employing you?
 4    Q. And for about how long did you live there?        4           MR. GONZALEZ: Objection to the form.
 5    A. Four years.                                       5     A. Blanca notified me. You were there. I was
 6    Q. Okay. And who lives with you at the house on 6 never showed a document of why. I was told verbally and
 7 Clay Tolle, or the -- the, I believe, RV in -- on Clay  7 then Blanca told me I could take other documents and
 8 Tolle -- let me ask it this way: Who lives with you at 8 continue working.
 9 the Clay Tolle address?                                 9           MR. QUEZADA: Objection; nonresponsive.
10    A. My wife.                                         10     Q. (By Mr. Quezada) My question is just about
11    Q. And what is your phone number?                   11 whether you understood that the Government notified
12    A. I don't know it.                                 12 Delia's that it could no longer continue employing you.
13    Q. Do you have a cell phone?                        13 If you know that, that's my question.
14    A. Yes.                                             14     A. Yes.
15    Q. Do you know who the service provider is?         15     Q. Okay. And what's your date of birth?
16    A. T-Mobile.                                        16     A. 11/30/70.
17    Q. And is the phone in your name?                   17     Q. And you worked at Delia's as a cook; is that
18    A. No.                                              18 right?
19    Q. In whose name is it?                             19     A. Yes.
20    A. My daughter.                                     20     Q. And your dates of employment were
21    Q. And what is her name?                            21 February 26th, 2019 until May 2nd, 2023?
22    A. Tanya Navarro.                                   22     A. Yes.
23    Q. Can you spell Tanya for us please?               23     Q. And your hourly pay rate was $9.50?
24    A. T-A-N-Y-A.                                       24     A. Yes, but then my salary was increased.
25    Q. And how old is Tanya?                            25     Q. Okay.
                                                      Page 10                                                        Page 12

 1     A. 31 years old.                                          1           MR. QUEZADA: And I just want to note -- or
 2     Q. And for how long have you had this phone with          2 clarify, rather, that when he's using the term "sweldo"
 3 T-Mobile?                                                     3 or salary, we're talking about an hourly rate. So I
 4     A. Like two years and a half.                             4 just want to ask a question to clarify that.
 5     Q. And has that whole -- has the phone been with          5    Q. (By Mr. Quezada) When you said that your
 6 T-Mobile that whole time?                                     6 "sweldo" increased, you mean your hourly rate increased?
 7     A. No, not always. I've had other phones.                 7    A. I was paid $9.50 per hour.
 8     Q. Oh, okay. But the one -- the one you've got            8    Q. And then that hourly rate increased?
 9 today, has that one always been with T-Mobile?                9    A. Yes.
10     A. Yes.                                                  10    Q. And then when you worked more than 40 hours in
11     Q. And have you had that same device for the two         11 a workweek, you got time and a half that rate, correct?
12 and a half years?                                            12    A. Yes.
13     A. Yes.                                                  13    Q. And so while you were working for Delia's, it
14     Q. Have you ever been a party in another lawsuit?        14 had a time keeping system, correct?
15     A. No.                                                   15    A. Yes.
16     Q. What is the reason that you're suing Delia's,         16    Q. And that time keeping system required you to
17 sir?                                                         17 punch in and punch out using your fingerprint?
18     A. Well, I was fired unjustified -- in an                18    A. Yes.
19 unjustified manner, and there were 300 other people that     19    Q. And at the time you were working for Delia's,
20 were still working there.                                    20 you understood that you were required to accurately and
21     Q. So the only reason you're suing Delia's is            21 correctly punch in and out and record your time,
22 about the termination of your employment?                    22 correct?
23     A. Okay, yes.                                            23    A. Yes.
24     Q. Yes?                                                  24    Q. And while you were working for Delia's, you
25     A. Yes, I was fired.                                     25 followed that policy, correct?
                                                      Page 11                                                        Page 13

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 1    A. Yes.                                                     1    A. Uh-huh.
 2    Q. And you worked at, I believe, two locations for          2    Q. Is that a yes?
 3 Delia's?                                                       3    A. Yes. Sorry.
 4    A. Yes.                                                     4    Q. Did Mauricio tell you by phone or in person?
 5    Q. How many locations? Two?                                 5    A. Over the phone.
 6    A. Yes.                                                     6    Q. Do you know whose idea it was to sue Delia's?
 7    Q. And at both locations you followed that policy           7    A. No.
 8 and practice of clocking in and out correctly?                 8    Q. Can you describe for us your duties that you
 9    A. Yes.                                                     9 did as a cook?
10    Q. When you were paid it was on a weekly basis, is         10    A. May I mention them all?
11 that correct?                                                 11    Q. Sure. Or I can -- I can walk you through I
12    A. Yes.                                                    12 think what they were.
13    Q. And you received a weekly pay stub?                     13    A. Everything referring to the kitchen.
14    A. Yes.                                                    14    Q. Okay. Cleaning the kitchen?
15    Q. And when you received those pay stubs, would            15    A. Yes.
16 you review them?                                              16    Q. Would you wash, peel, and cut vegetables?
17    A. Sometimes.                                              17    A. Yes.
18    Q. So you had the opportunity to check to make             18    Q. And meats, if needed?
19 sure that they were accurate; is that fair?                   19    A. Not meats.
20    A. Yes.                                                    20    Q. You'd mix ingredients?
21    Q. And while working for Delia's, you never                21    A. No.
22 reported that a check was not accurate; is that correct?      22    Q. Food handling was part of your duties?
23    A. No.                                                     23    A. Yes.
24    Q. No, you did not? Or, no, that's not, correct?           24    Q. Cook the actual food products?
25    A. I never reported a check.                               25    A. Yes.
                                                       Page 14                                                     Page 16

 1     Q. And the locations you worked at were McAllen            1    Q. Wrap up the finished cooked products?
 2 north and Mission; is that right?                              2    A. Yes.
 3     A. Yes.                                                    3    Q. Put them on trays to put them out for sale?
 4     Q. Okay. What's the highest level of education             4    A. Yes, that too.
 5 that you've completed?                                         5    Q. Wash trays?
 6     A. Excuse me?                                              6    A. Yes.
 7     Q. What's the highest level of education that you          7    Q. Wash and clean cooking equipment?
 8 completed?                                                     8    A. Yes.
 9     A. My first two years of college.                          9    Q. Sanitize the cooking areas?
10     Q. And that was in Mexico?                                10    A. Yes.
11     A. Yes.                                                   11    Q. Cleaning the floors?
12     Q. What were you studying?                                12    A. Yes.
13     A. I was studying to be an attorney.                      13    Q. Help maintain the cooking area to health code
14     Q. How did you learn about the lawsuit against            14 standards?
15 Delia's?                                                      15    A. Yes.
16     A. My colleagues.                                         16    Q. Remove items that were not needed, throw away
17     Q. Anyone -- did anyone specific tell you about           17 stuff that y'all were done with?
18 it?                                                           18    A. Yes.
19     A. Mauricio, but I don't remember his last name.          19    Q. Comply with the safety and health standard
20     Q. And how did Mauricio tell you about the                20 rules for keeping the food safe?
21 lawsuit?                                                      21    A. Yes.
22     A. That there was a current lawsuit for                   22    Q. And you did all those things while working at
23 unjustified termination.                                      23 Delia's?
24     Q. And is that your understanding of why everyone         24    A. Yes.
25 is suing Delia's?                                             25    Q. And to who did you report?
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 1     A. My direct supervisor, McAllen north was Dulce         1     Q. There was never a time where you asked Delia's
 2 Palacios and Cassandra Pena.                                 2 to change the amount of a paycheck or the amount of time
 3     Q. That was Dulce Palacios?                              3 on a paycheck; is that correct?
 4     A. Dulce Palacios.                                       4     A. No.
 5     Q. Did you have any other supervisors?                   5     Q. No, you did not?
 6     A. Yes.                                                  6     A. No.
 7     Q. Okay. Were those the only two immediate?              7     Q. Did your job duties change over time or remain
 8     A. Yes. They're the managers.                            8 the same?
 9     Q. Did you have a kitchen lead or a team lead that       9     A. They changed over time.
10 you reported to?                                            10     Q. And how did they change?
11     A. Yes.                                                 11     A. A little more strict with us.
12     Q. And who was that?                                    12     Q. But what about your duties, did the duties
13     A. Juana Perez. The other name is Rosario, and I        13 change?
14 don't quite remember the rest.                              14     A. No. Those were the same.
15     Q. And the direct supervisors that you just             15     Q. Were you provided any instruction on how to use
16 provided for us, I believe you said that was at the         16 the time keeping system?
17 McAllen location?                                           17     A. Yes.
18     A. Yes.                                                 18     Q. And who provided you that instruction?
19     Q. Did you have different people you reported to        19     A. My supervisor.
20 at the other location in Mission?                           20     Q. And what was your supervisor's name who
21     A. Yes.                                                 21 provided the training?
22     Q. And who were they?                                   22     A. Rogelio Castorena.
23     A. Rosendo. And I don't remember the name of the        23     Q. And the training he provided you was sufficient
24 other person.                                               24 for you to understand how to clock in and clock out,
25     Q. And that's Rosendo Lievanos who's here with us       25 correct?
                                                     Page 18                                                        Page 20

 1 today?                                                       1     A. Yes.
 2    A. Yeah.                                                  2     Q. And that was the Focus system, correct, the
 3    Q. Yeah. Did you have team leads or kitchen leads         3 time keeping system was the Focus system?
 4 in Mission?                                                  4     A. Yes.
 5    A. Yes.                                                   5     Q. Do you have any calendars or logs or notes that
 6    Q. And who were they?                                     6 reflect any record of time worked by you for Delia's?
 7    A. Mauricio and Jose Jimenez.                             7     A. Just the computer.
 8    Q. The duties that we described earlier, you              8     Q. And that's the time keeping system at Delia's,
 9 recall those?                                                9 right?
10    A. Of course.                                            10     A. Yes.
11    Q. All that work you did during the workday,             11     Q. So that time keeping system is the best record
12 correct?                                                    12 of hours worked by you at Delia's, right?
13    A. Yes.                                                  13     A. I think so.
14    Q. And you do that work between the time you             14     Q. Were you on the morning shift, or the afternoon
15 punched in and the time you punched out, correct?           15 shift, or did you rotate between both of them?
16    A. Yes.                                                  16     A. I would change.
17    Q. What was it specifically that you were cooking?       17     Q. Okay. Did you have any particular cadence of
18    A. Tamales.                                              18 how you would change?
19    Q. Anything else?                                        19     A. No. It was all the same. Morning and
20    A. Menudo.                                               20 afternoon.
21    Q. Anything else?                                        21     Q. Your schedule, did you set your own schedule or
22    A. Green sauce and red sauce.                            22 were you told when you needed to work?
23    Q. Other than a cook, did you hold any other             23     A. We had a scheduler.
24 positions with Delia's?                                     24     Q. You had a schedule or a scheduler?
25    A. No, just cook.                                        25     A. They made the schedule.
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Case 7:23-cv-00343 Document 49-4 Filed on 10/18/24 in TXSD Page 7 of 7

                                                                              the witness;
 1        I, ELIAS GUTIERREZ, have read the foregoing                                                             44
 2 deposition and hereby affix my signature that same is                  1         I further certify that pursuant to FRCP Rule
                                                                              30(f)(1) that the signature of the deponent:
 3 true and correct, except as noted above.                               2
 4                                                                              __X__ was requested by the deponent or a party
                                                                          3 before the completion of the deposition and that the
 5                                                                          signature is to be before any notary public and returned
 6                 _________________________________                      4 within 30 days from date of receipt of the transcript.
                                                                            If returned, the attached Changes and Signature Page
 7                 ELIAS GUTIERREZ                                        5 contains any changes and the reasons therefor;
                                                                          6     ____ was not requested by the deponent or a party
 8 THE STATE OF TEXAS)
                                                                            before the completion of the deposition.
 9 COUNTY OF ___________________________)                                 7
                                                                                   I further certify that I am neither counsel
10        Before me, _____________________________, on                    8 for, related to, nor employed by any of the parties or
11 this day personally appeared ELIAS GUTIERREZ, known to                   attorney in the action in which this proceeding was
                                                                          9 taken, and further that I am not financially or
12 me (or proved to me under oath or through                                otherwise interested in the outcome of the action.
13 ___________________) (description of identity card or                 10
                                                                                   Certified to by me this 10th day of July, 2024.
14 other document) to be the person whose name is                        11
15 subscribed to the foregoing instrument and acknowledged               12
                                                                         13
16 to me that they executed the same for the purposes and                14
                                                                         15              <%32255,Signature%>
17 consideration therein expressed.
                                                                                         Anica Diaz, Texas CSR(8021), RPR, CRR
18        Given under my hand and seal of office this                    16              Expiration Date: 08-31-24
                                                                                         Veritext Legal Solutions
19 ______ day of ________________, 2024.                                 17              Firm Registration No. 571
20                                                                                       300 Throckmorton Street, Suite 1600
                                                                         18              Fort Worth, Texas 76102
21            ___________________________________                        19
22            Notary Public in and for                                   20
                                                                         21
23            The State of Texas                                         22
24                                                                       23
                                                                         24
25                                                                       25
                                                               Page 42                                                                   Page 44
1         IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS                              1 Ricardo GOnzalez - ric@oxfordandgonzalez.com
 2              MCALLEN DIVISION
 3 JUANA CRUZ, OFELIA                   )
                                                                          2              July 10, 2024
    BENAVIDES, JOSE ELIAS N.G, )                                          3 RE: Cruz, Juana, Et Al v. Delgar Foods LLC, Et Al.
 4 GABRIELA VELAZQUEZ, RICARDO )
    GONZALEZ, HELESIO CRUZ,                   )                           4 DEPOSITION OF: Elias Gutierrez (# 6734289)
 5 ANGELICA CHAVEZ, CONCEPCION )
    PEREZ, OLGA PEREZ, MAVRIGO )                                          5     The above-referenced witness transcript is
 6 SAENZ, JORGE MAOLEON,                    )
    HECTOR SANCHEZ, HECTOR                      )                         6 available for read and sign.
 7 GONZALEZ, YESSY                   )
    PEREZ-MARTINEZ, MARIA DE )
                                                                          7     Within the applicable timeframe, the witness
 8 LOURDES CRUZ, RESENDO                      )                           8 should read the testimony to verify its accuracy. If
    LIEVANOS, ELIZABETH LARA, )
 9 LUIS ALBERTO                    ) CIVIL ACTION                         9 there are any changes, the witness should note those
    ZUNIGIA-CASTILLO, MIGUEL ) NO. 7:23-CV-00343
10 CABALLERO SANCHEZ,                     )                              10 on the attached Errata Sheet.
    GUILLERMO DE LA                   )
11 CRUZ-MENDOZA, CARLOS DANIEL ) JURY DEMANDED                           11     The witness should sign and notarize the
    LOPEZ, GILDA RIVAS, ARMANDO )
12 MORALES DE LLANO, LAZARO )
                                                                         12 attached Errata pages and return to Veritext at
    GARCIA, MARIA DE JESUS                 )                             13 errata-tx@veritext.com.
13 MEDINA, RICARDO ESQUIVEL, )
    RAFAEL SANCHEZ, GUILLERMO )                                          14     According to applicable rules or agreements, if
14 RUIZ, ROSA QUINTANILLA,                  )
                        )                                                15 the witness fails to do so within the time allotted,
15           PLAINTIFFS, )
                        )                                                16 a certified copy of the transcript may be used as if
16 VS.                    )
                        )
                                                                         17 signed.
17 DELGAR FOODS LLC A/K/A                    )                           18                  Yours,
    DELIA'S TAMALES,                )
18                      )                                                19                  Veritext Legal Solutions
             DEFENDANT.          )
19 ********************************************************              20
20           REPORTER'S CERTIFICATION
            DEPOSITION OF ELIAS GUTIERREZ                                21
21               June 28, 2024
22       I, Anica Diaz, Certified Shorthand Reporter in
                                                                         22
   and for the State of Texas, hereby certify to the                     23
23 following:
24       That the witness, ELIAS GUTIERREZ, was duly                     24
   sworn by the officer and that the transcript of the oral
25 deposition is a true record of the testimony given by                 25
                                                               Page 43                                                                   Page 45

                                                                                                                             12 (Pages 42 - 45)
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